Case 2:24-cv-00097-HSO-BWR Document 5
                                    2 Filed 07/09/24
                                            07/02/24 Page 1 of 3
                                                               2
                    Case 2:24-cv-00097-HSO-BWR Document 5 Filed 07/09/24 Page 2 of 3

AO 440 (Rev. 06/ 12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (Fhis section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name ofindividual and 1i1le, ifany)         Jones County Chancery Court Clerk Concetta S. Brooks, Clerk
was received by me on (dale}                      July 3, 2024


           0 I personall y served the summons on the individual at (place) 415 N. 5th Avenue, Laurel, MS. 39440
                                                                                    on (da1e)                            ; or

           0 I left the summons at the indi vidual 's residence or usual place of abode with (name)
                                                                   , a person of suitable age and discretion who resides there,
          - - - - -- - - - - - - - - - - -
           on (date)                                 and mailed a copy to the individual ' s last known address; or

           ,! I served the summons on (name of i11divid11al)           Robin Russell Deputy Court Clerk                           , who is
            designated by law to accept service of process on behalf of (name oforganization)                Jones County Chancery Court
                                                                                    on (date)          July 8, 2024      ; or
          - - - -- - - -- - - - - - - - - - - - -- -                                            - - - - - - - --
           0 I returned the summons unexecuted because                                                                                 ; or

           0 Other (.5pecify):



           M y fees are$                            for travel and $                    for services, for a total of$           0.00


           I declare under penalty of pcrj ury that this infonnation i s true.


Date :         July 8, 2024
                                                                                                Sen,er's signa1ure


                                                                                 Michael D. Morrison - Process Server
                                                                                            Primed name and title

                                                                                             P.O. Box 15236
                                                                                         Hattiesburg, MS. 39404
                                                                                              601-582-5001
                                                                                                Server's address

Additional infom1ation reg_arding attempted service etc:
See Attached Receipt ton,ervice of Process - 2 :24~cv-97-HSO-BWR
      Case 2:24-cv-00097-HSO-BWR Document 5 Filed 07/09/24 Page 3 of 3




                RECEIPT FOR SERVICE OF PROCESS

                                                         DATE: July 8. 2024

     Concetta Brooks, Char,cgyClerl<
TO: "Bart Ga vin, J ones County Chancery Court Clerk

CASE: J onathan Miller
      Versus
      Deputy Xavier Thigpen

DOCUMENT: Summons in a Civil Matter, Complaint

NO: 2:24-cv-97-HSO-BWR




vRoQi:v~       ~
RECEIPTSIGNATURE
